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                        Attorneys for Plaintiff
                 11     ROBEKS FRANCHISE CORPORATION
                 12
                 13                               UNITED STATES DISTRICT COURT
                 14                             CENTRAL DISTRICT OF CALIFORNIA
                 15
                 16     ROBEKS FRANCHISE                        Case No. 2:20-CV-00379-MWF (SSx)
                        CORPORATION,
                 17                                             Hon. Michael W. Fitzgerald
                                         Plaintiff,
                 18                                             PLAINTIFF’S OPPOSITION TO
                                 v.                             DEFENDANTS’ EMERGENCY
                 19                                             MOTION SEEKING:
                        CHRISTINE ALVEARI and
                 20     HEALTHY EATS, LLC,                        1) CONSOLIDATION OF
                                                                     PRELIMINARY INJUNCTION
                 21                      Defendants.                 HEARING WITH TRIAL ON THE
                                                                     MERITS;
                 22                                               2) PERMISSION TO CONDUCT
                 23                                                  DISCOVERY; AND
                                                                  3) A BRIEFING SCHEDULE AND
                 24                                                  EXTENSION OF TIME TO FILE
                                                                     AN OPPOSITION TO PLAINTIFF’S
                 25                                                  MOTION FOR PRELIMINARY
                                                                     INJUNCTION
                 26
                                                                AND DECLARATION OF MICHAEL
                 27                                             JAEGER IN SUPPORT THEREOF
                 28                                             Action Filed:         January 14, 2020
F AEGRE D RINKER
ATTORNEYS AT LAW
   LOS ANGELES                                                PLAINTIFF’S OPPOSITION TO DEFENDANTS’ EMERGENCY MOTION
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                   1                     MEMORANDUM OF POINTS AND AUTHORITIES
                   2   I.       INTRODUCTION
                   3            Defendants Healthy Eats, LLC and Christine Alveari have been aware since
                   4   September 2019 that if they did not cure the defaults under the Franchise
                   5   Agreement identified by Plaintiff Robeks in the September 17, 2019 Notice of
                   6   Default and attached Audit Report, Robeks would “vigorously enforce its rights
                   7   under the noncompetition covenants to which [they] are bound under the
                   8   Franchise Agreement,” as Robeks stated in that Notice of Default. (See
                   9   Declaration of Jimmer Bolden (“Bolden Decl.,” Dkt. 17-1), Exhibit G, pp. 3-4
                 10    (emphasis in original).) Defendants’ intentional violations of the Franchise
                 11    Agreement, which have forced Robeks to take action to protects its franchise
                 12    system, have resulted in their current predicament. Defendants’ requests for
                 13    additional time at this point ring hollow, given that they:
                 14                  • ignored two audit reports, the Notice of Default, the Notice of
                 15                      Immediate Termination (see id., Exhibit H), and the Final Notice (see
                 16                      id., Exhibit I), which gave them numerous opportunities and multiple
                 17                      avenues to resolve the dispute;
                 18                  • actively evaded service of the Complaint in this action for several
                 19                      weeks in January (see Declaration of Michael Jaeger in support of
                 20                      Opposition to Emergency Motion (“Jaeger Decl.”), ¶ 2);
                 21                  • did not hire counsel until February 13, 2020 (see Declaration of
                 22                      Patrick Dempsey in support of Emergency Motion (“Dempsey
                 23                      Decl.”), ¶ 5); and
                 24                  • asked for and received a one-week extension of their existing
                 25                      deadlines from Robeks and this Court just last week (see Jaeger Decl.,
                 26                      ¶ 3; see also Dkt. 28).
                 27             Like the larger dispute in which they find themselves, Defendants’ current
                 28    situation is entirely of their own making, and this Court should not permit them to
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   LOS ANGELES                                                     PLAINTIFF’S OPPOSITION TO DEFENDANTS’ EMERGENCY MOTION
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                   1   delay their day of reckoning any further as they continue to profit from goodwill
                   2   that does not belong to them. See Jiffy Lube Int’l. v. Weiss Bros., 834 F. Supp. 683,
                   3   691 (D.N.J. 1993) (franchise agreement conveys “the franchisor’s good will to the
                   4   franchisee for the length of the franchise. When the franchise terminates, the good
                   5   will is, metaphysically, reconveyed to the franchisor.”). Defendants should be
                   6   required to meet the obligations they specifically requested and agreed to a week
                   7   ago, and this Court should keep the existing hearing on Robeks’ pending motion on
                   8   calendar so that Robeks finally has the opportunity to obtain the relief it has spent
                   9   considerable time and money to achieve.
                 10    II.      BACKGROUND
                 11             Robeks has set forth the factual and procedural background in this matter in
                 12    its Complaint (see Dkt. 1, ¶¶ 22-96) and in its Motion for Preliminary Injunction
                 13    (see Dkt. 17, pp. 1-8), and will not repeat that information here. However, several
                 14    key points in Defendants’ “Procedural History” section require correction.
                 15             Defendants assert that “Plaintiff was fully aware of the fact that Defendants
                 16    continued to operate their business in South Florida in 2017, 2018, and 2019.”
                 17    (Emergency Motion, Dkt. 29, at 3.) Robeks was indeed aware that Defendants
                 18    were operating their business during these three years; however, Defendants were
                 19    operating their business as a Robeks franchise. This is evident from a photograph
                 20    taken on August 6, 2019 – two years after the nominal expiration of the Franchise
                 21    Agreement – and included in the Audit Report attached to the Notice of Default:
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   LOS ANGELES                                                   PLAINTIFF’S OPPOSITION TO DEFENDANTS’ EMERGENCY MOTION
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                 22    (Bolden Decl., Dkt. 17-1, Ex. G, ECF p. 121; report date shown on ECF p. 103.)
                 23    One can also review the comparison photographs shown on p. 19 of Robeks’
                 24    Complaint, which reflect the state of the store on December 4, 2019 – well after the
                 25    date on which the Franchise Agreement was terminated – to see that Defendants
                 26    had been using and were still continuing to use Robeks’ marks, drink names,
                 27    pricing, and signage, all of which are materials and information provided to
                 28    Defendants by Robeks by virtue of the franchising relationship. (See Dkt. 1, p. 19.)
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   LOS ANGELES                                                PLAINTIFF’S OPPOSITION TO DEFENDANTS’ EMERGENCY MOTION
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                   1   Robeks did not enforce the noncompete provisions of the Franchise Agreement
                   2   between August 2017 and August 2019 because it had no reason to; Defendants
                   3   were continuing to fully perform under and pursuant to the terms of the Franchise
                   4   Agreement, as was Robeks. A franchisee cannot be permitted to “hoodwink” a
                   5   franchisor by letting a Franchise Agreement expire, continuing to perform as if
                   6   nothing had changed, and then claiming they had actually been running an
                   7   independent business during that time whose existence had been ratified by the
                   8   franchisor – ironically, by acceptance of franchise royalties, according to
                   9   Defendants – and which was now free of its restrictive covenants. (See Emergency
                 10    Motion, p. 3.)
                 11             Another key fact left out of Defendants’ Procedural History illustrates the
                 12    same contradiction. Defendants claim that the Franchise Agreement expired in
                 13    August 2017, triggering the two-year noncompete provision. (Id.) However, there
                 14    are numerous, extensively detailed additional obligations that are triggered by the
                 15    expiration of the Franchise Agreement with which the franchisee must comply, set
                 16    forth in Section 18 of the Franchise Agreement:
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   LOS ANGELES                                                   PLAINTIFF’S OPPOSITION TO DEFENDANTS’ EMERGENCY MOTION
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   LOS ANGELES                                      PLAINTIFF’S OPPOSITION TO DEFENDANTS’ EMERGENCY MOTION
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                 10    (Bolden Decl., Dkt. 17-1, Ex. B.) Defendants did none of these things.1 (See id,
                 11    ¶ 2.) Furthermore, it was these provisions, in full, that Robeks sought Defendants’
                 12    compliance with in the Notice of Immediate Termination, not the de-branding and
                 13    continued operation of the store, as Defendants suggest. (Emergency Motion, p. 4.)
                 14             Having continued to operate as a Robeks under the Franchise Agreement,
                 15    Defendants cannot now retroactively declare that what they were actually doing
                 16    during that period was operating an independent business that by every measure
                 17    was a Robeks except for purposes of the noncompete covenant. The argument is
                 18    nonsensical given the documentary and sworn evidence, including photographs,
                 19    before this Court. Defendants’ actions demonstrated continued operation under the
                 20    Franchise Agreement for nearly two years following the August 2017 “expiration,”
                 21    sufficient to establish an implied-in-fact contract under Florida law with all of the
                 22    terms of the Franchise Agreement. (See Motion, Dkt. 17, p. 20.)2
                 23    1
                          Defendants “complied” in a manner of speaking with paragraph 1(a), requiring
                 24    royalty and advertising payments, in that they continued making such payments (for
                       years), and paragraph 9, the noncompete covenant, since they continued to operate
                 25    the store as a Robeks franchise. (See Declaration of David Rawnsley (“Rawnsley
                       Decl.”), ¶ 2.)
                 26    2
                          Robeks must also make one final procedural note, which is that Defendants did
                       not fully comply with this Court’s ex parte procedures. Although counsel for
                 27    Robeks received Defendants’ filing via CM/ECF, counsel for Robeks did not
                       receive any separate service or communication from Defendants notifying it “that
                 28    opposition papers must be filed no later than 24 hours (or one court day) following
                       such service.” (Jaeger Decl., ¶ 4.)
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                   1   III.     ARGUMENT
                   2            Defendants have had five months to prepare for this day. Robeks made clear
                   3   to Defendants, repeatedly, what the consequences would be if Defendants
                   4   continued to operate their de-branded store in violation of the Franchise Agreement,
                   5   the noncompete covenants, and state and federal law. The Franchise Agreement,
                   6   the Confidentiality, Non-Disclosure and Non-Competition Agreement, and the
                   7   Personal Guaranty, all of which Alveari signed, all set forth the same dispute
                   8   resolution provisions, including court actions for emergency/interim relief. (See
                   9   Bolden Decl., Dkt. 17-1, Exs. B-D, ECF pp. 49-51, 80-82, 88-90.) Particularly
                 10    given the timing of Alveari’s actions – beginning the “de-branding” process in
                 11    August 2019, exactly two years after she claims the Franchise Agreement expired
                 12    (i.e. the length of the restrictive covenant) – it appears she knew exactly what she
                 13    was doing and was familiar with the applicable legal documents.
                 14             Furthermore, Defendants have already been given a one-week extension. In
                 15    their discussions with Robeks’ counsel about the joint stipulation, Defendants’
                 16    counsel did not reference either the possible need for an additional extension, or the
                 17    possibility of the instant Emergency Motion. (See Jaeger Decl., ¶ 3.)
                 18             Defendants’ procedural arguments – Rule 65(a)(2), the need for discovery,
                 19    and a new briefing schedule – are all simply different ways of asking for more time.
                 20    They also, significantly, will allow Defendants to continue operating their store in
                 21    violation of the Franchise Agreement and state and federal law during those delays,
                 22    which is precisely the activity Robeks filed its Complaint and Motion to stop.
                 23    Defendants have no legitimate excuse for not being prepared for Robeks’ actions,
                 24    and their lack of preparedness should not be rewarded with additional time in which
                 25    they can flout their obligations and continue to cause irreparable financial and
                 26    reputational harm to Robeks. (See Motion, pp. 12-14, 28-29.)
                 27             Defendants’ cited cases are similarly problematic. Aliya Medcare Fin., LLC
                 28    v. Nickell, 2014 WL 12526382, *8 (C.D. Cal. Nov. 26, 2014) (Emergency Motion,
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                   1   p. 5) does not stand for the proposition that “courts may consolidate preliminary
                   2   injunction hearings with a trial on the merits if the preliminary injunction sought
                   3   would effectively decide the entire case”; Aliya does not mention consolidation, or
                   4   Fed. R. Civ. P. 65(a)(2), at all.3 Further, the court in Boldon v. Humana Ins. Co.
                   5   actually denied the motion to consolidate, contrary to Defendants’ statement that
                   6   “[a]s in Boldon, this court should order a consolidation of the preliminary
                   7   injunction hearing with a trial on the merits” (Emergency Motion, p. 6). 466 F.
                   8   Supp. 2d 1199, 1208 (D. Ariz. 2006). Finally, in U.S. S.E.C. v. Fitzgerald, the
                   9   plaintiff had already achieved some of the relief it sought when the court
                 10    consolidated the preliminary injunction hearing with a trial on the merits, because it
                 11    had already granted a temporary restraining order. 135 F. Supp. 2d 992, 1025
                 12    (N.D. Cal. 2001). Robeks has no such interim protection here.
                 13             Defendants also make several bald statements that misstate the facts or law.
                 14    They assert that this Court “should not grant Plaintiff’s request for an injunction,
                 15    whether preliminary or permanent, until all the facts and law are clearly
                 16    established.” (Emergency Motion, p. 6.) Defendants cite no authority for this
                 17    proposition, nor could they, for if that were the law, a preliminary injunction as a
                 18    legal remedy would not exist. A preliminary injunction is just that – preliminary.
                 19    In its Motion, Robeks has set forth the applicable standards for issuance of such an
                 20    injunction, and contrary to Defendants’ conclusory statements (e.g., “Plaintiff has
                 21    absolutely no legitimate business interest” (id., p. 3)), has shown that it meets those
                 22    standards with a combination of legal argument and sworn evidence. (See Motion,
                 23    pp. 9-31.)
                 24             In addition, while Robeks believes it would be improper to allow Defendants
                 25    additional time for all of the reasons set forth above, the relevant facts in the four
                 26
                       3
                 27       Robeks is not suggesting Rule 65(a)(2) does not permit consolidation, but points
                       out the discrepancy because it continues the pattern of similarly incomplete or
                 28    inaccurate statements found in the Emergency Motion’s Procedural History, as
                       discussed in Section II, supra.
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ATTORNEYS AT LAW
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   LOS ANGELES                                                   PLAINTIFF’S OPPOSITION TO DEFENDANTS’ EMERGENCY MOTION
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                   1   listed areas of discovery Defendants seek cannot realistically be disputed
                   2   (Emergency Motion, p. 7):
                   3                • Robeks’s knowledge of Defendants’ continued operation of their
                   4                     business location from August 2017 to August 2019 (and, in some
                   5                     ways, beyond): as shown above, and as discussed in detail in the
                   6                     Complaint and Motion, Robeks was well aware that, and how,
                   7                     Defendants were operating their business during that time period: as a
                   8                     Robeks franchise, to all internal and external appearances.
                   9                • Robeks’ voluntary acceptance and ratification of Defendants’
                 10                      continued operation of their business location from August 2017 to
                 11                      August 2019 (and again, in some ways, beyond): as referenced above,
                 12                      and as discussed in detail in the Complaint and Motion, during this
                 13                      time period, pursuant to the Franchise Agreement, Robeks accepted
                 14                      franchisee royalty and advertising payments from Defendants, and
                 15                      provided Defendants on an ongoing basis with Robeks franchisee
                 16                      information, products, and materials that Defendants then used in their
                 17                      franchise location (as confirmed by periodic franchisor audits). (See
                 18                      Rawnsley Decl., ¶ 3.)
                 19                 • The benefits conferred by Defendants on Plaintiff from August 2017 to
                 20                      August 2019 (and, in some ways, beyond): pursuant to the terms of the
                 21                      Franchise Agreement, during this time period Defendants paid
                 22                      royalties and advertising fees to Robeks out of their gross sales from
                 23                      the franchise on a weekly basis, pursuant to the terms of the Franchise
                 24                      Agreement. (See id.)
                 25                 • Robeks’ lack of any legitimate business interest in enforcing the
                 26                      noncompete agreement: under the applicable Florida statutes and
                 27                      precedent, Defendants cannot seriously dispute the existence of
                 28                      numerous legitimate business interests. (See Motion, pp. 22-25
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                   1                     (referencing multiple such interests, including trade secrets; non-trade
                   2                     secret valuable confidential business information; goodwill associated
                   3                     with trademarks or other service marks; franchisor goodwill; and a
                   4                     franchisor’s interest re-entering the market previously serviced by a
                   5                     terminated franchise).) Any one of these is a legitimate business
                   6                     interest under Florida law; given Robeks’ detailed discussion of a
                   7                     myriad of its interests in the Motion, it strains credulity for Defendants
                   8                     to claim that Robeks has “absolutely no” such interest. (Emergency
                   9                     Motion, p. 3.)
                 10    Thus, both because their own actions have put them in the position they now find
                 11    themselves in as far as discovery, and because on the merits such discovery would
                 12    not alter the determinative points Robeks makes in its Motion, Defendants’ requests
                 13    to delay the preliminary injunction hearing and briefing should not be granted.
                 14    IV.      CONCLUSION
                 15             For all of the reasons set forth above, Robeks requests that the Court deny
                 16    Defendants’ Emergency Motion and maintain the briefing and hearing schedule,
                 17    already extended by a week, set forth in the parties’ joint stipulation negotiated and
                 18    submitted last Friday and the Court’s related order entered this Monday (Dkt. 28).
                 19
                 20    DATED: February 28, 2020                    FAEGRE DRINKER BIDDLE &
                                                                   REATH LLP
                 21
                 22                                                By:     /s/ Michael Jaeger
                 23                                                      MICHAEL JAEGER
                                                                         KERRY L. BUNDY (pro hac vice)
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                 25                                                      Attorneys for Plaintiff
                                                                         ROBEKS FRANCHISE CORPORATION
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   LOS ANGELES                                                      PLAINTIFF’S OPPOSITION TO DEFENDANTS’ EMERGENCY MOTION
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                   1                           DECLARATION OF MICHAEL JAEGER
                   2
                   3            I, Michael Jaeger, declare as follows:
                   4            1.       I am an attorney duly licensed to practice law in the State of California
                   5   and am counsel of record for Plaintiff Robeks Franchise Corporation (“Robeks”) in
                   6   this matter. I am over the age of 18 and have personal knowledge of all the facts
                   7   stated herein. If called as a witness, I could and would testify competently to the
                   8   matters set forth below.
                   9            2.       The Complaint in this action was filed on January 14, 2020.
                 10    Defendants were personally served with the summons and Complaint on
                 11    February 1, 2020, after several weeks of evading service.
                 12             3.       On Thursday and Friday of last week (February 20 and 21, 2020), I
                 13    exchanged emails and spoke on the phone with counsel for Defendants regarding a
                 14    potential extension of their time to respond to the Complaint and Robeks’ Motion
                 15    for a Preliminary Injunction. As is reflected in the joint stipulation submitted by
                 16    the parties (Dkt. 22) and the Order entered by the Court (Dkt. 28), Robeks agreed to
                 17    extend all deadlines and the date of the Motion hearing by one week. At no point in
                 18    those emails or telephone conversations did Defendants’ counsel indicate that the
                 19    one week they were requesting would be insufficient or that they might be seeking
                 20    additional time beyond that. Robeks relied on the fact that Defendants had not
                 21    indicated any further extensions would be sought in agreeing to the one-week
                 22    extension.
                 23             4.       Although I received notice of Defendants’ Emergency Motion filing
                 24    via CM/ECF, I did not receive any separate service or communication from
                 25    Defendants notifying Robeks “that opposition papers must be filed no later than 24
                 26    hours (or one court day) following such service,” as required by this Court’s rules.
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F AEGRE D RINKER
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ATTORNEYS AT LAW                                                    DECLARATION OF MICHAEL JAEGER ISO PLAINTIFF’S OPPOSITION
   LOS ANGELES                                                                          TO DEFENDANTS’ EMERGENCY MOTION
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                   1            I declare under penalty of perjury under the laws of the United States of
                   2   America that the foregoing is true and correct.
                   3            Executed this 28th day of February, 2020, at Los Angeles, California.
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                   5                                             /s/ Michael Jaeger
                                                                 MICHAEL JAEGER
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ATTORNEYS AT LAW                                               DECLARATION OF MICHAEL JAEGER ISO PLAINTIFF’S OPPOSITION TO
   LOS ANGELES                                                                           DEFENDANTS’ EMERGENCY MOTION
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